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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §   CRIMINAL NO. 4:05CR156 (1)
                                                   §
PAUL CHARLES WHITE                                 §


               MEMORANDUM ADOPTING REPORT AND
       RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       Came on for consideration the above-referenced criminal action, this court having heretofore

referred the request for revocation of Defendant’s supervised release to the United States Magistrate

Judge for proper consideration. The court has received the report of the United States Magistrate

Judge pursuant to its order. Defendant having waived allocution before this court as well as his right

to object to the report of the Magistrate Judge, the court is of the opinion that the findings and

conclusions of the Magistrate Judge are correct.

       It is, therefore, ORDERED that the Magistrate Judge’s Report is ADOPTED as the opinion

of the court. It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

It is further ORDERED that Defendant be committed to the custody of the Bureau of Prisons to be

imprisoned for a term of seven (7) months, with no supervised release to follow. It is further

ORDERED that Defendant shall pay the remaining balance on his outstanding fine in the amount

of $1,071.02. The Court further recommends that Defendant’s term of imprisonment be carried out

in the Bureau of Prisons facilities located in Seagoville, Texas, if appropriate.
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      IT IS SO ORDERED.

         .   SIGNED this the 30th day of January, 2014.




                                                 _______________________________
                                                 RICHARD A. SCHELL
                                                 UNITED STATES DISTRICT JUDGE
